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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN

In re:
                                                 Case No. 21-00524-jwb
LARRY ALLEN CLUCHEY,
                                       Chapter 7
                        Debtor.
_______________________________________/

WORLD ENERGY INNOVATIONS,
LLC, f/d/b/a WORTHINGTON ENERGY
INNOVATIONS, LLC,

                              Plaintiff,

         v.                                      Adversary Proceeding No. 21-80053-jwb

LARRY ALLEN CLUCHEY and
SHERRY D. CLUCHEY,

                        Defendants.
_______________________________________/

         STIPULATED ORDER CONTINUING FIRST PRETRIAL CONFERENCE

         On July 13, 2022, the Court entered its Stipulated Order Extending Deadline to Object to

Discharge and Continuing Pretrial, which continued the first pretrial conference to October 13,

2022. The parties have agreed to a continuance of the first pretrial conference to November 10,

2022, at 10:00 a.m. Accordingly, for good cause shown,

         IT IS HEREBY ORDERED that the first pretrial conference is hereby continued to

November 10, 2022, at 10:00 a.m. at the United States Bankruptcy Court, One Division Ave., N.,

3rd Floor, Courtroom B, Grand Rapids, MI 49503




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       So stipulated by:




/s/ Robert F. Wardrop, II
Robert F. Wardrop, II
Counsel for Defendant Larry A. Cluchey

/s/ Steven M. Bylenga
Steven M. Bylenga
Counsel for Defendant Sherry D. Cluchey

/s/ Jacob L. Carlton
Jacob L. Carlton
Counsel for the Chapter 7 Trustee

/s/ John C. Cannizzaro
John C. Cannizzaro
Counsel for Plaintiff World Energy Innovations, LLC

                                     END OF ORDER




4866-0189-0094.1
